                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 09-CR-248

TRAVENN WEBSTER
             Defendant.


                                          ORDER

      IT IS ORDERED that defendant’s conditions of supervised release are modified, 18

U.S.C. § 3583(e)(2), to add the following condition:

      Defendant shall submit his person, property, house, residence, vehicle, office,
      papers, computers, other electronic communications or data storage devices, or
      media, to a search conducted by the United States Probation Officer. Failure to
      submit to a search may be grounds for revocation of release. Defendant shall
      warn any other occupants that the premises may be subject to searches
      pursuant to this condition. An officer may conduct a search pursuant to this
      condition only when reasonable suspicion exists that defendant has violated a
      condition of his release and that the areas to be searched may contain evidence
      of this violation. Any search must be conducted at a reasonable time and in a
      reasonable manner.

      Dated at Milwaukee, Wisconsin, this 10th day of October, 2010.

                                         /s Lynn Adelman
                                         LYNN ADELMAN
                                         District Judge




    Case 2:09-cr-00248-LA      Filed 10/10/14    Page 1 of 1   Document 1336
